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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   NO. 4:06CR00211-04 JLH

CAROL REESE                                                                            DEFENDANT


                                              ORDER

       Carol Reese is currently on supervised release with a special condition of electronic

monitoring. She is supervised in the District of Arizona where she resides. She has requested that

the electronic monitoring be removed, and she reports that in the District of Arizona the policy is for

electronic monitoring to be removed after 90 days if the defendant is in complete compliance with

the terms of release. Reese has been in compliance with the terms of her release. The Court

therefore authorizes the probation officer in the District of Arizona to remove the electronic

monitoring after Reese returns to the District of Arizona and meets with her probation officer there.

       IT IS SO ORDERED this 23rd day of November, 2009.




                                                       ___________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
